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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MATTRESS FIRM , INC.,                             §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §           CIVIL ACTION H-09-3072
                                                  §
GARY D. WHITE, et al.,                            §
                                                  §
       Defendants.                                §


                                              O RDER

       Plaintiff’s motion to dismiss certain defendants (Dkt. 18) is GRANTED. It is therefore

ORDERED that defendants Thomas Nealy, Rodney Stephenson, Phoenix Structures, Inc. d/b/a

Trinity Retail Construction and Boribiba, Inc. d/b/a Eagle Technology are DISMISSED without

prejudice.



       Signed at Houston, Texas on December 22, 2009.




                                               ___________________________________
                                                           Gray H. Miller
                                                     United States District Judge




                    TO ENSURE PROPER NOTICE, EACH PARTY RECEIVING THIS ORDER SHALL
                       FORWARD IT TO EVERY OTHER PARTY AND AFFECTED NONPARTY
